                             UNITED STATES DISTRICT COURT

                             EASTERN DISTRICT OF LOUISIANA

BORDELON MARINE, INC.                           *
                                                *   CIVIL ACTION NO.: 15-0815
VERSUS                                          *
                                                *   JUDGE MARY ANN VIAL LEMMON
ENERGY XXI GOM, LLC                             *   SECTION “S”
                                                *
                                                *   MAGISTRATE JUDGE
                                                *   JANIS VAN MEERVELD
                                                *   DIVISION (1)
* * * * * * * * * * * * * * * * * * * * * * * **

              ORDER ON MOTION IN LIMINE TO EXCLUDE TESTIMONY
                     WHICH CITES, QUOTES OR RELIES ON
                 NATIONAL TRANSPORTATION SAFETY BOARD’S
                          MARINE ACCIDENT BRIEF

       Pending before the Court is Bordelon Marine, Inc.’s Motion in Limine (the “Motion”) to

exclude the National Transportation Safety Board’s Marine Accident Brief from evidence at the

trial and contemporaneously therewith the Motion to Exclude any testimony, including but not

limited to that of David Scruton, which cites, quotes or relies on the National Transportation

Safety Board’s Marine Accident Brief. Having considered the briefing, argument of counsel, and

the applicable law, the Court finds that the Motion to Exclude any testimony which cites, quotes,

or relies on the National Transportation Safety Board’s Marine Accident Brief should be

GRANTED.

       IT IS HEREBY ORDERED that Bordelon Marine Inc.’s Motion is GRANTED, and

neither David Scruton nor any other witness may cite, quote or rely on the          the National

Transportation Safety Board’s Marine Accident Report at the trial.

       New Orleans, Louisiana this _____ day of ___________, 2018.


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HONORABLE MARY ANN VIAL LEMMON
UNITED STATES DISTRICT COURT JUDGE
